         Case 1:19-cv-00369-CWD Document 13 Filed 01/15/20 Page 1 of 3



BART M. DAVIS, ID STATE BAR NO. 2696
UNITED STATES ATTORNEY
ROBERT B. FIRPO, CA STATE BAR NO. 243991
ASSISTANT UNITED STATES ATTORNEY
DISTRICT OF IDAHO
WASHINGTON GROUP PLAZA IV
800 EAST PARK BOULEVARD, SUITE 600
BOISE, ID 83712-7788
TELEPHONE: (208) 334-1211
FACSIMILE: (208) 334-1414
Email: Robert.Firpo@usdoj.gov

Attorneys for Defendant Bureau of Land Management


                         IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF IDAHO


 WESTERN WATERSHEDS PROJECT,
                                                  Case No. 1:19-cv-00369-CWD
                Plaintiff,
                                                  JOINT STATUS REPORT
        v.

 BUREAU OF LAND MANAGEMENT,

                Defendant.


       The parties submit this Joint Status Report to update the Court on the FOIA production

schedule agreed to by the parties on November 18, 2019. See ECF No. 9. The Court’s Order

approving both the production schedule and the joint motion to stay the case requested status

reports every 60-days starting January 15, 2020. See ECF No. 12.

                                      STATUS REPORT

       On or about December 31, 2019, BLM submitted a first batch of documents to WWP in

response to WWP’s Outcome Based Grazing FOIA request. BLM will submit another batch of




JOINT STATUS REPORT - 1
         Case 1:19-cv-00369-CWD Document 13 Filed 01/15/20 Page 2 of 3



documents by the end of January 2020. In light of BLM’s production in December 2019, the

parties agree that production is on schedule.



Respectfully submitted this 15th day of January, 2020.


                                                 BART M. DAVIS
                                                 UNITED STATES ATTORNEY
                                                 By:


                                                 /s/ Robert B. Firpo
                                                 ROBERT B. FIRPO
                                                 Assistant United States Attorney

                                                 Attorney for Defendant BLM




                                                 /s/ David S. Bahr
                                                 DAVID A. BAHR
                                                 BAHR LAW OFFICES, P.C.
                                                 1035 ½ MONROE ST.
                                                 EUGENE, OR 97402

                                                 Attorney for Plaintiff WWP




JOINT STATUS REPORT - 2
         Case 1:19-cv-00369-CWD Document 13 Filed 01/15/20 Page 3 of 3



                                CERTIFICATE OF SERVICE


       I HEREBY CERTIFY that on January 15, 2020, the foregoing JOINT STATUS

REPORT was electronically filed with the Clerk of the Court using the CM/ECF system which

sent a Notice of Electronic Filing to the following person(s):


       Scott Lake
       scott@westernwatersheds.org

       David A. Bahr
       davebahr@mindspring.com




                                                           /s/ Jessica Black
                                                           Jessica Black
                                                           Legal Assistant




JOINT STATUS REPORT - 3
